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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   10/19/2020
                                                                       :
SECURITIES AND EXCHANGE COMMISSION,                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      18-CV-4145 (JPC)
                  -v-                                                  :
                                                                       :            ORDER
PREMIUM POINT INVESTMENTS LP et al.,                                   :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court is in receipt of the parties’ joint status update in this case. (Dkt. 33.) Pursuant to

the Honorable Alison J. Nathan’s Order dated June 19, 2018 (Dkt. 18), this action remains stayed

in its entirety pending further order of this Court. The parties are hereby ordered to file a joint letter

every ninety days, apprising the court of the status of the proceedings in United States v. Anilesh

Ahuja et al., 18-CR-328, until the stay of this matter is lifted, with the first status letter due on

January 14, 2021.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
